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 7   Proposed Attorneys for Robert Kors,
     the Chapter 11 Trustee
 8
                                    UNITED STATES BANKRUPTCY COURT
 9

10                CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION

11   In re:                                                           Case No. 2:21-bk-10826-BB

12   KFIR GAVRIELI,                                                   Chapter 11

13                                                                    CHAPTER 11 TRUSTEE’S
                                                                      APPLICATION TO RETAIN AND
                               Debtor.                                EMPLOY MILBANK LLP AS
14
                                                                      COUNSEL, EFFECTIVE AS OF JULY
15                                                                    13, 2021

16                                                                    DECLARATIONS OF MARK
                                                                      SHINDERMAN AND ROBERT KORS IN
17                                                                    SUPPORT

18                                                                    [No Hearing Required Unless Requested
                                                                      Pursuant to Local Bankruptcy Rule 2014-1]
19            Robert Kors, the chapter 11 trustee in the above-captioned case (the “Trustee”), hereby
20   submits this application (the “Application”) for the entry of an order authorizing the Trustee to retain
21   and employ Milbank LLP (“Milbank”) as counsel for the Trustee, effective as of July 13, 2021 (the
22   “Election Date”), pursuant to section 327(a) of title 11 of the United States Code, 11 U.S.C. §§ 101-
23   1532 (as amended, the “Bankruptcy Code”), 1 rules 2014, 2016, and 5002 of the Federal Rules of
24   Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 2014-1 of the Local Bankruptcy Rules of
25   the United States Bankruptcy Court for the Central District of California (the “Local Rules”).
26

27
     1
         Unless specified otherwise, all references to “section” used herein are to the Bankruptcy Code, 11 U.S.C. §§ 101, et
28       seq., as amended.
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 1          This Application is supported by the accompanying declarations of Mark Shinderman, a

 2   partner in Milbank’s Financial Restructuring Group, and the Trustee (the “Kors Declaration”). In

 3   further support of the Application, the Trustee respectfully represents as follows:

 4                                             BACKGROUND

 5          On February 1, 2021, Kfir Gavrieli (the “Debtor”) filed a voluntary petition for relief under

 6   chapter 11 of the Bankruptcy Code with this Court. The Debtor served as the debtor-in-possession

 7   until June 16, 2021, when the United States Trustee for Region 16 (the “U.S. Trustee”) appointed the

 8   interim chapter 11 trustee, Sara Chenetz (the “Predecessor Trustee”), pursuant to the Order

 9   Following Order to Show Cause Re: Appointment of Chapter 11 Trustee and Directing United States

10   Trustee to Appoint a Chapter 11 Trustee; Order Denying Debtor’s Oral Motion For A Stay Pending

11   Appeal [Docket No. 349]. The Court approved the Predecessor Trustee’s appointment on June 17,

12   2021 [Docket No. 362].

13          On June 18, 2021, the U.S. Trustee received the Request to the United States Trustee

14   Pursuant to 11 U.S.C. § 1104(b)(1) and Fed. R. Bankr. P. 2007.1(b) to Convene Meeting of

15   Creditors to Elect a Chapter 11 Trustee [Docket No. 364], filed by the Official Committee of

16   Unsecured Creditors (the “Committee”) and certain other parties in interest. The U.S. Trustee

17   noticed a meeting of creditors pursuant to section 1104(b) on June 22, 2021 (the “Meeting of

18   Creditors”), and scheduled the Meeting of Creditors for July 13, 2021, at 9:15 a.m. United States

19   Trustee’s Report of Undisputed Election of Trustee and Certification of Election at the Meeting of

20   Creditors [Docket No. 401] at 3:9-11. The U.S. Trustee received no objections to the request for a

21   trustee election, and all claims that voted at the Meeting of Creditors cast their ballots in the

22   Trustee’s favor. Id. at 4:10, 6:14-15.

23          The U.S. Trustee appointed the Trustee on July 27, 2021.               United States Trustee’s

24   Appointment of Robert Kors as Chapter 11 Trustee [Docket No. 402]. The Court approved the

25   Trustee’s appointment on July 28, 2021. Order Approving Appointment of Chapter 11 Trustee

26   [Docket No. 404].     The Trustee accepted the appointment on July 29, 2021.           Acceptance of

27   Appointment of Chapter 11 Trustee [Docket No. 407].

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 1                                      JURISDICTION AND VENUE

 2          This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and 1334.

 3   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding under 28

 4   U.S.C. §§ 157(b)(2).

 5                                          RELIEF REQUESTED

 6          By this Application, the Trustee seeks entry of an order authorizing the retention and

 7   employment of Milbank as his counsel, effective as of the Election Date.

 8                                    MILBANK’S QUALIFICATIONS

 9          Milbank is one of the largest law firms in the United States, with national and international

10   practices, and has experience in all aspects of the law that may arise in this chapter 11 case.

11   Milbank’s principal office is located at 55 Hudson Yards, New York, NY 10001, and it has offices in

12   Washington, D.C., Los Angeles, Sao Paulo, London, Frankfurt, Munich, Singapore, Hong Kong,

13   Beijing, Tokyo, and Seoul.

14          Milbank is particularly well-suited for the type of representation required by the Trustee.

15   Milbank has practiced in the areas of insolvency and reorganization for more than fifty years.

16   Milbank’s Financial Restructuring Group currently comprises approximately 75 attorneys

17   worldwide. Milbank has been actively involved in many of the most significant restructurings in the

18   United States and has represented trustees, debtors, and creditors in many large chapter 11 cases in

19   this district and others, including: In re Verity Health System of California, Inc., et al., No. 18-20151

20   (ER) (Bankr. C.D. Cal. 2018); In re Knotel, Inc., et al., No. 21-10146 (MFW) (Bankr. D. Del. 2021);

21   In re Guitar Center, Inc., No. 20-34657 (KRH) (Bankr. E.D. Va. 2020); In re Avianca Holdings,

22   S.A., et al., No. 20-11133 (MG) (Bankr. S.D.N.Y. 2020); In re OneWeb Global Limited, et al., No.

23   20-22437 (RDD) (Bankr. S.D.N.Y. 2020); In re Internap Technology Solutions Inc., No. 20-22393

24   (RDD) (Bankr. S.D.N.Y. 2020); American Commercial Lines, Inc., No. 20-30982 (MI) (Bankr. S.D.

25   Tex. 2020); In re PG&E Corp., Case No. 19-30088 (DM) (Bankr. N.D. Cal. 2019); In re Remington

26   Outdoor Company, Inc., No. 18-10684 (BLS) (Bankr. D. Del. 2018); In re First Energy Solutions,

27   Corp., Case No. 18-50757 (AMK) (Bankr. N.D. Ohio 2018); In re TK Holdings Inc., Case No. 17-

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 1   11375 BLS) (Bankr. D. Del. 2017); and In re M & G USA Corp., Case No. 17-12307 (BLS) (Bankr.

 2   D. Del. 2017).

 3          Furthermore, the Trustee desires that Milbank represent him in this chapter 11 case because

 4   of Milbank’s experience and expertise in bankruptcy law and ability to immediately and

 5   knowledgeably assist the Trustee in his efforts to maximize the value of the Debtor’s estate.

 6                                     SERVICES TO BE PROVIDED

 7          The Trustee respectfully submits that it will be necessary to employ and retain Milbank

 8   pursuant to section 327(a) of the Bankruptcy Code to render the following services, among others, as

 9   directed by the Trustee:

10                    (a)   advising the Trustee with respect to his rights, powers, and duties as the
                            chapter 11 trustee in the administration of the bankruptcy estate and assets
11
                            thereof;
12
                      (b)   advising the Trustee in connection with the restructuring of the Debtor’s
13                          financial obligations, including negotiations with the Debtor’s creditors and
                            other stakeholders with respect to the foregoing, and other legal services
14                          related to the Trustee’s restructuring of the financial obligations of the Debtor;
15
                      (c)   advising and consulting on the conduct of this chapter 11 case, including the
16                          legal and administrative requirements of chapter 11;

17                    (d)   advising the Trustee and taking all necessary or appropriate actions at the
                            Trustee’s direction with respect to protecting and preserving the bankruptcy
18                          estate, including defense of any actions commenced against the estate,
19                          resolution of disputes in which the estate is involved, and objecting to claims
                            asserted against the estate;
20
                      (e)   attending meetings and negotiating with parties in interest, including
21                          governmental authorities, as necessary;
22                    (f)   drafting all pleadings necessary or otherwise appropriate in connection with
23                          the administration of this chapter 11 case;

24                    (g)   representing the Trustee in connection with continued use of cash collateral
                            and postpetition financing;
25
                      (h)   providing advice, representation and taking all necessary or appropriate
26                          actions in connection with legal bankruptcy issues, strategic transactions, asset
27                          sale transactions, real estate, intellectual property, employee benefits, business
                            and commercial litigation, regulatory, corporate and tax matters, and
28                          prosecution and settlement of claims both against and by the estate;

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 1
                    (i)     advising the Trustee in connection with any possible sale of assets and similar
 2                          or related transactions;
 3
                    (j)     advising the Trustee concerning assumptions, assignments, and rejections of
 4                          executory contracts and unexpired leases;

 5                  (k)     appearing before the Court and any appellate courts to represent the interests
                            of the Trustee and/or the estate;
 6

 7                  (l)     taking all necessary or appropriate actions as may be required in connection
                            with the administration of the estate, including with respect to a chapter 11
 8                          plan and related disclosure statement; and

 9                  (m)     performing all other legal services in connection with this chapter 11 case as
                            may be requested by the Trustee.
10
            The Trustee may, from time to time, request that Milbank undertake specific matters beyond
11
     the scope of the services described above. Should Milbank agree, in its sole discretion, to undertake
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     any such specific matter(s), the Trustee requests authority to employ Milbank for such matter(s)
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     without further order of this Court.
14
            By the Trustee’s Application to Amend Orders Approving Employment of Certain Estate
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     Professionals Effective as of July 28, 2021 [Docket No. 423], the Trustee is seeking to employ and
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     retain certain counsel previously retained by the Debtor: (a) Hueston Hennigan LLP (“Hueston
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     Hennigan”) as special litigation counsel; (b) The Law Offices of A. Laver Taylor LLP as special tax
18
     counsel; and (c) Hochman Salkin Toscher Perez PC (“Hochman”) as special tax counsel
19
     (collectively, the “Other Retained Counsel”). The Other Retained Counsel had represented the
20
     Debtor prior to the petition date, with Hueston Hennigan having represented the Debtor since 2017
21
     on litigation matters and Hochman having representing the Debtor since 2018 on tax matters.
22
              The Trustee recognizes that efficient coordination among his professionals is necessary for
23
     the effective and efficient administration of this chapter 11 case. The Trustee, Milbank, and the
24
     Other Retained Counsel have discussed the anticipated division of responsibilities between Milbank
25
     and the Other Retained Counsel, and the Trustee intends to monitor his professionals (and other
26
     professionals retained by the estate) carefully to ensure a clear delineation of their respective duties
27
     and roles so as to prevent a duplication of effort.
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 1              DISCLOSURE OF MILBANK’S COMPENSATION BY THE TRUSTEE

 2          In the one-year period prior to the Election Date, Milbank received no payments from the

 3   Trustee, nor did Milbank receive a retainer from the Trustee.

 4          Milbank intends to apply to the Court for allowance of compensation and reimbursement of

 5   out-of-pocket expenses incurred on and after the Election Date in connection with this chapter 11

 6   case in accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the

 7   Local Rules, and any other applicable procedures and orders of the Court, including the Order on

 8   Debtor’s Motion Establishing Interim Fee Application and Expense Reimbursement Procedures

 9   [Docket No. 103].     Milbank recognizes that the U.S. Trustee is charged with reviewing all

10   applications for compensation and that, in reviewing Milbank’s fee applications, the U.S. Trustee

11   will utilize the Guidelines for Reviewing Applications for Compensation and Reimbursement of

12   Expenses Filed under 11 U.S.C. § 330 for Attorneys in Larger Chapter 11 Cases, effective as of

13   June 11, 2013 (the “U.S. Trustee Guidelines”).

14          If this Application is approved, Milbank will be compensated at its standard hourly rates

15   charged in the United States, which are based on the applicable professional’s level of experience.

16   At present, the standard hourly rates charged by Milbank are as follows:

17                              Billing Category           Range
                                Partners                   $1,275 to $1,695
18                              Counsel                    $1,235 to $1,450
                                Associates                 $495 to $1,105
19                              Legal Assistants           $255 to $405
20          The Trustee understands that these hourly rates are subject to annual and customary firm-

21   wide adjustments in the ordinary course of Milbank’s business. The Trustee further understands that

22   Milbank’s hourly rates and the corresponding rate structure proposed for this chapter 11 case is

23   consistent with the rates that Milbank charges other comparable clients.

24          Milbank will maintain detailed, contemporaneous records of time and of any necessary costs

25   and expenses incurred in connection with rendering the legal services described above.        It is

26   Milbank’s policy to charge its clients for all disbursements and expenses incurred in rendering its

27   professional services. These disbursements and expenses include, among other things, costs for

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 1   telephone and facsimile charges, photocopying, travel, business meals, computerized research,

 2   messengers, couriers, postage, witness fees, and other fees related to trials and hearings.

 3          Milbank will endeavor to staff this matter as efficiently as possible, only engaging

 4   professionals beyond a limited core team of attorneys for specific, discrete issues as warranted and in

 5   consultation with the Trustee.

 6          Milbank will comply with the requirements of Local Bankruptcy Rule 2016-1 when

 7   requesting compensation or reimbursement for expenses during this chapter 11 case.

 8                                    MILBANK’S DISINTERESTEDNESS

 9          To the best of the Trustee’s knowledge: (a) Milbank is a “disinterested person” within the

10   meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the Bankruptcy

11   Code, and does not hold or represent an interest adverse to the estate; and (b) Milbank has no

12   connection to the Trustee, the Debtor, known creditors, other known parties in interest, their

13   respective attorneys and accountants, the U.S. Trustee, and any person employed by the U.S.

14   Trustee, except as disclosed in the Shinderman Declaration. Milbank has fully informed the Trustee

15   of its ongoing representation of the party described in the Shinderman Declaration in matters

16   unrelated to this chapter 11 case, and the Trustee has consented to Milbank’s continued

17   representation of such party.

18          Milbank will continue to monitor its records to ensure that no conflicts or other disqualifying

19   circumstances exist or arise. If any new relevant facts or relationships are discovered or arise,

20   Milbank will file supplemental declarations, as required by Bankruptcy Rule 2014(a).

21          Further, Milbank has neither shared nor agreed to share: (a) any compensation it has received

22   or may receive with another party or person, other than with the partners, associates, and contract

23   attorneys associated with Milbank; or (b) any compensation another person or party has received or

24   may receive.

25                                           BASIS FOR RELIEF

26          Section 327(a) of the Bankruptcy Code provides that a “trustee, with the court’s approval,

27   may employ one or more attorneys . . . that do not hold or represent an interest adverse to the estate,

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 1   and that are disinterested persons, to represent or assist the trustee in carrying out the trustee’s

 2   duties” under the Bankruptcy Code. 11 U.S.C. § 327(a).

 3          The Trustee respectfully requests authority to retain Milbank under section 327(a) of the

 4   Bankruptcy Code.       As explained above and in the Shinderman Declaration, Milbank is a

 5   disinterested person and well-qualified to assist the Trustee in administering this chapter 11 case.

 6   Thus, the Court should approve the Trustee’s proposed retention and employment of Milbank.

 7       MILBANK’S EMPLOYMENT EFFECTIVE AS OF JULY 13, 2021 IS WARRANTED

 8          The Trustee further submits that the circumstances of this chapter 11 case warrants the

 9   employment and retention of Milbank effective as of the Election Date. The Trustee’s election and

10   appointment came amid serious allegations against the Debtor, compelling Milbank to work with the

11   Trustee—immediately upon the Trustee’s election—to secure the estate’s assets, evaluate litigation

12   claims, and ensure the continued, efficient administration of the estate, among other tasks. 2

13          Among Milbank’s urgent efforts to assist the Trustee in securing the estate’s assets included:

14   (a) obtaining control over the Debtor’s bank accounts; (b) instructing managers of the Debtor’s

15   investments in private companies not to transfer such interests or make distributions on account of

16   such investments to any entity other than the Trustee; (c) ensure access to information regarding

17   Gavrieli Brands, LLC, particularly given derivative action claims filed against the Debtor; (d)

18   engage with exchanges where the Debtor holds cryptocurrency; and (e) develop a feasible, cost-

19   effective and timely strategy to repatriate funds held in accounts in Hong Kong.

20          In addition to helping secure the estate’s assets, Milbank assisted the Trustee immediately

21   upon his election to evaluate legal actions pending before this Court and in state court. Milbank has

22   worked with the Trustee, the Debtor, the Committee, and opposing counsel to prepare the Trustee to

23   make informed decisions regarding these actions.

24          Milbank was also required to immediately assist the Trustee ensure the efficient

25   administration of the estate.    Among other tasks, Milbank coordinated with the Trustee and

26   professionals retained by the Debtor to determine which of the Debtor’s professionals should be

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     2
         A detailed description of the tasks performed by the Trustee and Milbank prior to filing of this
28       Application is set forth in the Chapter 11 Trustee’s Status Report [Docket No. 425] and
         accompanying declaration of Mark Shinderman.
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 1   retained by the Trustee. Relatedly, Milbank moved the Court for authority to amend previously-

 2   entered employment orders in order to retain such professionals and set hearings for interim and

 3   final fee applications.

 4          Finally, in order to help the Trustee best perform his duties by understanding the relevant

 5   facts, perspectives, goals, and concerns of the estate’s material stakeholders, Milbank has engaged

 6   with the estate’s stakeholders on multiple occasions to gather information. Facilitation of this

 7   process included, among other things, the negotiation of a confidentiality agreement to ensure the

 8   free flow of information.

 9          In short, Milbank’s retention effective as of the Election Date is warranted.

10                         MEMORANDUM OF POINTS AND AUTHORITIES

11          In accordance with Local Rule 9013-1(c)(4), no memorandum of points and authorities will

12   be filed in connection herewith. The Trustee respectfully reserves the right to file a brief in reply to

13   any objection to this Application.

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 1           WHEREFORE, the Trustee respectfully requests that the Court enter an order: (a)

 2   authorizing the Trustee to retain Milbank effective as of July 13, 2021; and (b) granting such further

 3   relief as is just and proper.

 4   Dated: September 1, 2021                         MILBANK LLP
 5

 6                                                    /s/ Mark Shinderman
                                                      MARK SHINDERMAN
 7                                                    WILLIAM SCHUMACHER
                                                      MOHAMMAD TEHRANI
 8
                                                      Proposed Attorneys for Robert Kors,
 9                                                    the Chapter 11 Trustee

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 6   Facsimile:    (213) 629-5063

 7   Proposed Attorneys for Robert Kors,
     the Chapter 11 Trustee
 8
                                 UNITED STATES BANKRUPTCY COURT
 9

10                 CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION

11   In re:                                                     Case No. 2:21-bk-10826-BB

12   KFIR GAVRIELI,                                             Chapter 11

13                                                              DECLARATION OF MARK
                                                                SHINDERMAN IN SUPPORT
                             Debtor.                            OF CHAPTER 11 TRUSTEE’S
14
                                                                APPLICATION TO RETAIN AND
15                                                              EMPLOY MILBANK LLP AS
                                                                COUNSEL, EFFECTIVE AS OF
16                                                              JULY 13, 2021

17
                                                                [No Hearing Required Unless Requested
18                                                              Pursuant to Local Bankruptcy Rule 2014-1]

19            I, Mark Shinderman, declare as follows, under penalty of perjury:
              1.      I am a partner at Milbank LLP (“Milbank”), proposed attorneys to Robert Kors, the
20
     chapter 11 trustee (the “Trustee”) in the above-captioned case. I submit this declaration in support
21
     of the Chapter 11 Trustee’s Application to Retain and Employ Milbank LLP as Counsel, Effective As
22
     Of July 13, 2021. Unless otherwise stated in this declaration, I have knowledge of the facts set forth
23
     herein and, if called as a witness, I would testify thereto. 1
24

25

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27   1
         Certain of the disclosures set forth herein relate to matters not within my personal knowledge,
         but rather within the personal knowledge of other attorneys and employees at Milbank, and are
28       based on information provided by them to me.
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 1                                    MILBANK’S QUALIFICATIONS

 2          2.        Milbank is one of the largest law firms in the United States, with national and

 3   international practices, and has experience in all aspects of the law that may arise in this chapter 11

 4   case. Milbank’s principal office is located at 55 Hudson Yards, New York, NY 10001, and it has

 5   offices in Washington, D.C., Los Angeles, Sao Paulo, London, Frankfurt, Munich, Singapore, Hong

 6   Kong, Beijing, Tokyo, and Seoul.

 7          3.        Milbank is particularly well-suited for the type of representation required by the

 8   Trustee. Milbank has practiced in the areas of insolvency and reorganization for more than fifty

 9   years. Milbank’s Financial Restructuring Group currently comprises approximately 75 attorneys

10   worldwide. Milbank has been actively involved in many of the most significant restructurings in the

11   United States and has represented trustees, debtors, and creditors in many large chapter 11 cases in

12   this district and others, including: In re Verity Health System of California, Inc., et al., No. 18-20151

13   (ER) (Bankr. C.D. Cal. 2018); In re Knotel, Inc., et al., No. 21-10146 (MFW) (Bankr. D. Del. 2021);

14   In re Guitar Center, Inc., No. 20-34657 (KRH) (Bankr. E.D. Va. 2020); In re Avianca Holdings,

15   S.A., et al., No. 20-11133 (MG) (Bankr. S.D.N.Y. 2020); In re OneWeb Global Limited, et al., No.

16   20-22437 (RDD) (Bankr. S.D.N.Y. 2020); In re Internap Technology Solutions Inc., No. 20-22393

17   (RDD) (Bankr. S.D.N.Y. 2020); American Commercial Lines, Inc., No. 20-30982 (MI) (Bankr. S.D.

18   Tex. 2020); In re PG&E Corp., Case No. 19-30088 (DM) (Bankr. N.D. Cal. 2019); In re Remington

19   Outdoor Company, Inc., No. 18-10684 (BLS) (Bankr. D. Del. 2018); In re First Energy Solutions,

20   Corp., Case No. 18-50757 (AMK) (Bankr. N.D. Ohio 2018); In re TK Holdings Inc., Case No. 17-

21   11375 BLS) (Bankr. D. Del. 2017); and In re M & G USA Corp., Case No. 17-12307 (BLS) (Bankr.

22   D. Del. 2017).

23                                     SERVICES TO BE PROVIDED

24          4.        The Trustee has asked Milbank to render the following services, among others, as

25   directed by the Trustee:

26                    (a)    advising the Trustee with respect to his rights, powers, and duties as the
                             chapter 11 trustee in the administration of the bankruptcy estate and assets
27
                             thereof;
28

                                                      2
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 1                 (b)     advising the Trustee in connection with the restructuring of the Debtor’s
                           financial obligations, including negotiations with the Debtor’s creditors and
 2                         other stakeholders with respect to the foregoing, and other legal services
 3                         related to the Trustee’s restructuring of the financial obligations of the Debtor;

 4                 (c)     advising and consulting on the conduct of this chapter 11 case, including the
                           legal and administrative requirements of chapter 11;
 5
                   (d)     advising the Trustee and taking all necessary or appropriate actions at the
 6                         Trustee’s direction with respect to protecting and preserving the bankruptcy
 7                         estate, including defense of any actions commenced against the estate,
                           resolution of disputes in which the estate is involved, and objecting to claims
 8                         asserted against the estate;

 9                 (e)     attending meetings and negotiating with parties in interest, including
                           governmental authorities, as necessary;
10

11                 (f)     drafting all pleadings necessary or otherwise appropriate in connection with
                           the administration of this chapter 11 case;
12
                   (g)     representing the Trustee in connection with continued use of cash collateral
13                         and postpetition financing;
14
                   (h)     providing advice, representation and taking all necessary or appropriate
15                         actions in connection with legal bankruptcy issues, strategic transactions, asset
                           sale transactions, real estate, intellectual property, employee benefits, business
16                         and commercial litigation, regulatory, corporate and tax matters, and
                           prosecution and settlement of claims both against and by the estate;
17
                   (i)     advising the Trustee in connection with any possible sale of assets and similar
18
                           or related transactions;
19
                   (j)     advising the Trustee concerning assumptions, assignments, and rejections of
20                         executory contracts and unexpired leases;
21                 (k)     appearing before the Court and any appellate courts to represent the interests
                           of the Trustee and/or the estate;
22

23                 (l)     taking all necessary or appropriate actions as may be required in connection
                           with the administration of the estate, including with respect to a chapter 11
24                         plan and related disclosure statement; and
25                 (m)     performing all other legal services in connection with this chapter 11 case as
26                         may be requested by the Trustee.
            5.     I understand that the Trustee may, from time to time, request that Milbank undertake
27
     specific matters beyond the scope of the services described above. Should Milbank agree, in its sole
28

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 1   discretion, to undertake any such specific matter(s), the Trustee requests authority to employ

 2   Milbank for such matter(s) without further order of this Court.

 3                DISCLOSURE OF MILBANK’S COMPENSATION BY THE TRUSTEE

 4          6.      In the one-year period prior to the Election Date, Milbank received no payments from

 5   the Trustee, nor did Milbank receive a retainer from the Trustee.

 6          7.      Milbank intends to apply to the Court for allowance of compensation and

 7   reimbursement of out-of-pocket expenses incurred on and after the Election Date in connection with

 8   this chapter 11 case in accordance with the applicable provisions of the Bankruptcy Code, the

 9   Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of the Court,

10   including the Order on Debtor’s Motion Establishing Interim Fee Application and Expense

11   Reimbursement Procedures [Docket No. 103]. Milbank recognizes that the U.S. Trustee is charged

12   with reviewing all applications for compensation and that, in reviewing Milbank’s fee applications,

13   the U.S. Trustee will utilize the Guidelines for Reviewing Applications for Compensation and

14   Reimbursement of Expenses Filed under 11 U.S.C. § 330 for Attorneys in Larger Chapter 11 Cases,

15   effective as of June 11, 2013 (the “U.S. Trustee Guidelines”).

16          8.      If this Application is approved, Milbank will be compensated at the standard hourly

17   rates charged in the United States, which are based on the applicable professional’s level of

18   experience. At present, the standard hourly rates charged by Milbank are as follows:

19
                                Billing Category            Range
20                              Partners                    $1,275 to $1,695
                                Counsel                     $1,235 to $1,450
21                              Associates                  $495 to $1,105
                                Legal Assistants            $255 to $405
22

23          9.      I have advised the Trustee that these hourly rates are subject to annual and customary

24   firm-wide adjustments in the ordinary course of Milbank’s business. I have further advised the

25   Trustee that Milbank’s hourly rates and the corresponding rate structure proposed for this chapter 11

26   case is consistent with the rates that Milbank charges other comparable clients.

27          10.     Milbank will maintain detailed, contemporaneous records of time and of any

28   necessary costs and expenses incurred in connection with rendering the legal services described

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 1   above. It is Milbank’s policy to charge its clients for all disbursements and expenses incurred in

 2   rendering its professional services. These disbursements and expenses include, among other things,

 3   costs for telephone and facsimile charges, photocopying, travel, business meals, computerized

 4   research, messengers, couriers, postage, witness fees, and other fees related to trials and hearings.

 5          11.     Milbank will endeavor to staff as efficiently as possible, only engaging professionals

 6   beyond a limited core team of attorneys for specific, discrete issues as warranted and in consultation

 7   with the Trustee.

 8          12.     Other than as set forth above, there is no proposed arrangement between the Trustee

 9   and Milbank for compensation to be paid in this chapter 11 case. Milbank has no agreement with

10   any other entity to share any compensation received, nor will any be made, except as permitted

11   under section 504(b)(1) of the Bankruptcy Code.

12          13.     The proposed employment of Milbank is not prohibited by or improper under

13   Bankruptcy Rule 5002. To the best of my knowledge, no attorney or employee at the firm is related

14   to any United States Bankruptcy Judge or District Court Judge for the Central District of California

15   or to the United States Trustee for such district or any employee in the office thereof.

16                                  MILBANK’S DISINTERESTEDNESS

17          14.     Milbank does not represent and will not represent any entity, other than the Trustee,

18   in matters related to this chapter 11 case.

19          15.     To the best of my knowledge and except as otherwise set forth herein, Milbank: (a) is

20   not a creditor, an equity security holder, or an insider of the Debtor or the Trustee; (b) is not and was

21   not, within two years before the Petition Date, a director, officer, or employee of the Debtor or

22   Trustee; and (c) does not hold or represent any interest adverse to the interests of the Trustee or

23   Debtor’s estate or of any class of creditors or equity security holders, by reason of any direct or

24   indirect relationship to, connection with, or interest in, the Debtor, the Trustee, or for any other

25   reason. Accordingly, Milbank is a “disinterested person,” as that term is defined in section 101(14)

26   of the Bankruptcy Code.

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 1           16.     I have fully informed the Trustee of Milbank’s ongoing representations of the parties

 2   described herein in matters unrelated to this chapter 11 case, and the Trustee has consented to

 3   Milbank’s continued representation of such parties.

 4           17.     In connection with its proposed retention by the Trustee in this chapter 11 case,

 5   Milbank searched its client database to determine whether it had any relationships with the entities

 6   listed on Schedule 1 attached hereto, which, to the knowledge of Milbank, based upon information

 7   provided to Milbank by the Debtor or reflected in public filings made by in this chapter 11 case, may

 8   be parties in interest in this chapter 11 case.

 9           18.     To the extent that such searches indicated that Milbank (or any of its partners or

10   employees) has or had a relationship with any entity listed on Schedule 1 within the last three (3)

11   years, the identity of such entity, and Milbank’s relationship with such entity, are set forth on

12   Schedule 2 attached hereto and incorporated and described herein.

13           19.     Only one entity was identified from Schedule 1 in Milbank’s search of its client

14   database. This entity is Lincoln Financial Group, one of the Debtor’s contract counterparties. For

15   the current year, Lincoln Financial Group has accounted for more than 1% but less than 2% of

16   Milbank’s gross revenue thus far in connection to matters unrelated to this representation. Lincoln

17   Financial Group accounted for less than 1% of Milbank’s gross revenue for the year ended

18   December 31, 2020.

19           20.     I submit that none of the foregoing or in Schedule 2 disqualifies Milbank from acting

20   as the Trustee’s counsel.

21           21.     Milbank also made a general inquiry to all partners and employees of the firm

22   requesting disclosure of any relationship with (a) any Bankruptcy Judge or District Judge in the

23   Central District of California, (b) anyone employed by the Office of the Clerk of the Bankruptcy

24   Court for the Central District of California, or (c) any trustee, attorney, or staff employed by the

25   office of the U.S. Trustee.        Additionally, Milbank requested disclosure by all partners and

26   employees, to the best of their knowledge, of any claims held against either the Trustee or the

27   Debtor.

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 1          22.     To the best of my knowledge, based on the foregoing inquiry, no attorney or

 2   employee at the firm is related to any United States Bankruptcy Judge or District Court Judge for the

 3   Central District of California or to the U.S. Trustee for such district or any employee in the office

 4   thereof.   Accordingly, I respectfully submit that the proposed employment of Milbank is not

 5   prohibited by, or improper under, Bankruptcy Rule 5002.

 6          23.     The Debtor has numerous relationships and creditors. Consequently, although every

 7   reasonable effort has been made to discover and eliminate the possibility of any connection or

 8   conflict, including the efforts outlined above, Milbank is unable to state with certainty which of its

 9   clients or such clients’ affiliated entities hold claims or otherwise are parties in interest in this

10   chapter 11 case. If Milbank discovers any information that is contrary or pertinent to the statements

11   made in this declaration, Milbank will promptly disclose such information to the Court on notice to

12   the U.S. Trustee and such other parties in interest as may be required under noticing procedures

13   applicable in this chapter 11 case.

14                     STATEMENT REGARDING U.S. TRUSTEE GUIDELINES

15          24.     The following information is provided in response to the request for additional

16   information set forth in Paragraph D.1. of the U.S. Trustee Guidelines:

17
            Question:        Did you agree to any variations from, or alternatives to, your standard
18                           or customary billing arrangements for this engagement?
19          Response:        No.
20          Question:        Do any of the professionals included in this engagement vary their rate
                             based on the geographic location of the bankruptcy case?
21
            Response:        No.
22
            Question:        If you represented the client in the 12 months prepetition, disclose your
23                           billing rates and material financial terms for the prepetition
                             engagement, including any adjustments during the 12 months
24                           prepetition. If your billing rates and material financial terms have
                             changed postpetition, explain the difference and the reasons for the
25                           difference.
26          Response:        Milbank did not represent the Trustee prior to the commencement of the
                             Debtor’s chapter 11 case.
27
            Question:        Has your client approved your prospective budget and staffing plan,
28

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 1                       and, if so for what budget period?

 2        Response:      We have developed a staffing plan, under which a limited number of
                         Milbank bankruptcy attorneys are involved in the case to maximize
 3                       efficiency, and other Milbank attorneys are involved for discrete projects
                         only with Trustee approval. The Trustee and Milbank intend to develop a
 4                       prospective budget in a reasonable effort to comply with the U.S. Trustee’s
                         requests for information and additional disclosures. Consistent with the
 5                       U.S. Trustee Guidelines, the budget may be amended as necessary to
                         reflect changed or unanticipated developments.
 6

 7                          [Remainder of Page Intentionally Left Blank]

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 1          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
 2   correct to the best of my knowledge and belief.
 3
     Dated: September 1, 2021
 4
                                              Respectfully submitted,
 5

 6
                                              /s/ Mark Shinderman
 7                                            Name: Mark Shinderman
                                              Title: Partner, Milbank LLP
 8

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                                   Schedule 1

                           Potential Parties in Interest
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                        POTENTIAL PARTIES IN INTEREST

                                    DEBTOR

KFIR GAVRIELI
                             CHAPTER 11 TRUSTEE


ROBERT A. KORS

                 COMMITTEE OF UNSECURED CREDITORS

ROMAN MARGOLIN, C/O KRKB                    RONALD JOSE PAZ VARGAS
FAMILY TRUST                                DICK BROUWER
ADAM MILSTEIN                               EYAL BILGRAI


                                   LENDER

RJB PARTNERS, LLC

                             CONTRACT PARTIES

DRIVE INSURANCE                             NATIONAL GENERAL INSURANCE
LINCOLN FINANCIAL GROUP                     COMPANY
MONTANA BWB LLC

                             SECURED CREDITORS

CASA HERMOSA                                DIKLA GAVRIELI
JASON FUNG                                  DIKLA UNATIN
RAVI SARIN                                  SONIA YU
DEAN UNATIN

                             UNSECURED CREDITORS
EYAL BILGRAI
DICK BROUWER
HAVIV GAVRIELI
MIRA GAVRIELI
GOODBANK IRREVOCABLE TRUST
KRKB FAMILY TRUST
ALBERT LIU
ADAM MILSTEIN
DAN NIR
PONVALLY LLC
THE AUDREY E. NOWACEK IRREVOCABLE TRUST 2003
THE CARSON D. KRUIDENIER IRREVOCABLE TRUST 2009
THE GRAEME PERRY KRUIDENIER IRREVOCABLE TRUST 2011
THE MADILYN M. NOWACEK IRREVOCABLE TRUST 2000
THE O’REILLY 2010 CHILDREN’S TRUST FB AILEEN KRUDENIER
THE O’REILLY 2010 CHILDREN’S TRUST FBO HELEN NOWACEK
THE RAMS FOOTBALL COMPANY LLC
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ASHWINI UPADHYAYA
RONALD PAZ VARGAS
HARRY ZIMMERMAN

                                 PRIORITY CREDITORS

FRANCHISE TAX BOARD
INTERNAL REVENUE SERVICE

                                 OTHER SEARCH PARTIES

10401 JEFFERSON LP                              HALOGEN VENTURES LP
12414 EXPOSITION LP                             IVYCONNECT, INC.
4645 LIVE OAK, LLC                              MACON MB LLC
APOGEE PACIFIC, LLC                             DANIEL MURILLO
ASPIRATION PARTNERS, INC.                       DAN MURILLO
ASPIRATION, INC.                                NANTERO, INC.
CHANGE THE CHANNEL LLC                          PERMIAN YIELD I LLC
CLEOPATRA RESOURCES, LLC                        JOE SANDBERG
DMKG APARTMENTS, LLC                            JOSEPH SANDBERG
FAIRCLAIMS, INC.                                ASHWINI UPADHYAYA
FDSLF OPPORTUNITIES LLC                         WAVEHEALTH PARTNERS, LLC
GAVRIELI, LLC

                   CENTRAL DISTRICT OF CALIFORNIA BANKRUPTCY JUDGES

HONORABLE ALAN M. AHART                         HONORABLE ROBERT N. KWAN
HONORABLE THEODOR C. ALBERT                     HONORABLE GERALDINE MUND
HONORABLE MARTIN R. BARASH                      HONORABLE ERNEST M. ROBLES
HONORABLE NEIL W. BASON                         HONORABLE BARRY RUSSELL
HONORABLE SHERI BLUEBOND                        HONORABLE DEBORAH J. SALTZMAN
HONORABLE JULIA W. BRAND                        HONORABLE ERITHE A. SMITH
HONORABLE SCOTT C. CLARKSON                     HONORABLE MAUREEN A. TIGHE
HONORABLE THOMAS B. DONOVAN                     HONORABLE MARK S. WALLACE
HONORABLE MARK D. HOULE                         HONORABLE SCOTT H. YUN
HONORABLE WAYNE JOHNSON                         HONORABLE GREGG W. ZIVE
HONORABLE VICTORIA S. KAUFMAN                   HONORABLE VINCENT P. ZURZOLO
HONORABLE SANDRA R. KLEIN

                        OFFICE OF THE U.S. TRUSTEE FOR REGION 16

PETER C. ANDERSON                               HELEN CRUZ
JILL STURTEVANT                                 SONNY FLORES
ERYK R. ESCOBAR                                 STEPHANIE J. HILL
DARE LAW                                        MARIA A. RAMOS
NOREEN MADOYAN                                  ABRAM S. FEUERSTEIN
RON MAROKO                                      EVERETT L. GREEN
KELLY MORRISON                                  ALI MATIN
HATTY YIP                                       CAMERON RIDLEY
PATTI BRUNDIGE                                  HERMAN AU
KAREN POLK                                      PHILIP GREEN
JASON RUSSELL                                   RHEA A. AQUINO
YOLANDA J. CANNON                               MARY AVALOS
MARLENE FOUCHE                                  CAROLYN K. HOWLAND


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ADELA M. SALGADO
FRANK CADIGAN
NANCY GOLDENBERG
MICHAEL HAUSER
QUEENIE NG
TERRY B. NORRIS
MARILYN SORENSEN
KRISTINA HOWARD
MICHELE R. STEELE
JAIMEE ZAYICEK
TARI KING
HUGH POWELL
KENNETH MISKEN
KATHERINE C. BUNKER
RUSSELL CLEMENTSON
BRIAN FITTIPALDI
MARIA MARQUEZ
ALFRED COOPER
SANDRA CRUZ
JOYCE HONG
VERONICA HERNANDEZ




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                                PROFESSIONALS



A. LAVER TAYLOR LLP
FORCE TEN PARTNERS LLP
HOLLAND & HART
HUESTON & HENNINGAN LLP
STEPTOE & JOHNSON LLP
THEODORA ORINGHER PC
HOCHMAN SALKIN TOSCHER PEREZ PC
KROST CPAS
HOGAN LOVELLS US LLP
KGI ADVISORS, INC.
PERKINS COIE LLP
SARA L. CHENETZ
LATHAM & WATKINS LLP
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                                    Schedule 2

                    Connections to Potential Parties in Interest
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            Party Name                             Relationship to Milbank
Lincoln Financial Group            Current client on matters unrelated to the Debtor, the
                                   Trustee, or this chapter 11 case
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 1   MARK SHINDERMAN (State Bar No. 136644)
     mshinderman@milbank.com
 2   WILLIAM SCHUMACHER (State Bar No. 303862)
     wschumacher@milbank.com
 3   MOHAMMAD TEHRANI (State Bar No. 294569)
     mtehrani@milbank.com
 4   MILBANK LLP
     2029 Century Park East, 33rd Floor
 5   Los Angeles, CA 90067
     Telephone:    (424) 386-4000
 6   Facsimile:    (213) 629-5063

 7   Proposed Attorneys for Robert Kors,
     the Chapter 11 Trustee
 8
                                 UNITED STATES BANKRUPTCY COURT
 9

10                 CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION

11   In re:                                                    Case No. 2:21-bk-10826-BB

12   KFIR GAVRIELI,                                            Chapter 11

13
                                                              DECLARATION OF ROBERT KORS IN
                             Debtor.                          SUPPORT OF CHAPTER 11
14
                                                              TRUSTEE’S APPLICATION TO
15                                                            RETAIN AND EMPLOY MILBANK LLP
                                                              AS COUNSEL, EFFECTIVE AS OF
16                                                            JULY 13, 2021

17
                                                              [No Hearing Required Unless Requested
18                                                            Pursuant to Local Bankruptcy Rule 2014-1]
              I, Robert Kors, declare as follows, under penalty of perjury:
19
              1.     I am the chapter 11 trustee for the above-captioned bankruptcy case. I submit this
20
     declaration in support of the Chapter 11 Trustee’s Application to Retain and Employ Milbank LLP
21
     as Counsel, Effective as of July 13, 2021. Unless otherwise stated in this declaration, I have
22
     knowledge of the facts set forth herein and, if called as a witness, I would testify thereto.
23
                                  TRUSTEE’S SELECTION OF COUNSEL
24
              2.      I wish to retain Milbank LLP (“Milbank”) to serve as my counsel. I recognize that a
25
     comprehensive review process is necessary when selecting chapter 11 counsel to ensure that
26
     bankruptcy professionals are subject to the same client-driven market forces, scrutiny, and
27
     accountability as professionals in non-bankruptcy engagements.
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 1          3.     Once it became evident that I may be appointed the trustee in this chapter 11 case, I

 2   discussed with counsel for several stakeholders my views and their views as to potential trustee

 3   counsel who might be most effective in that role. I was informed by multiple stakeholders that

 4   Milbank, and in particular Mark Shinderman, would be particularly well-suited to assist me resolve

 5   the issues present in this chapter 11 case. I believe that for this reason, as well as Milbank’s

 6   extensive experience in reorganizations both out-of-court and under chapter 11 of the Bankruptcy

 7   Code, Milbank is both well-qualified and uniquely able to represent myself in an efficient and

 8   effective manner. Further, I believe that the rates Milbank charges are comparable to other similarly

 9   prestigious and well-qualified firms with top-tier restructuring practices. Thus, I decided to retain

10   Milbank as my counsel during this chapter 11 case.

11                                           COST SUPERVISION

12          4.     Milbank has informed me that its rates for bankruptcy representations are comparable

13   to the rates Milbank charges for non-bankruptcy representations.         Furthermore, based on my

14   experience working with other law firms, I believe that Milbank’s rates are comparable to those of

15   firms similar to Milbank.

16          5.     I recognize that in large chapter 11 cases such as this, it is possible that there may be

17   unforeseen fees and expenses that will need to be addressed by myself and Milbank.              I also

18   recognize that it is my responsibility to closely monitor the billing practices of Milbank and other

19   professionals to ensure that fees and expenses paid by the estate remain consistent with my

20   expectations, taking into account the exigencies and other circumstances of this chapter 11 case. To

21   that end, I will continue to review and monitor the regular fee statements and applications submitted

22   by Milbank.

23

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 1                                PROOF OF SERVICE OF DOCUMENT

 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
     business address is: 2029 Century Park E, 33rd Floor, Los Angeles, CA 90067. A true and correct
 3   copy of the foregoing document entitled: Chapter 11 Trustee’s Application to Retain and Employ
     Milbank LLP as Counsel, Effective as of July 13, 2021 will be served or was served (a) on the judge
 4   in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

 5   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
     Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court
 6   via NEF and hyperlink to the document. On September 1, 2021, I checked the CM/ECF docket for
     this bankruptcy case or adversary proceeding and determined that the following persons are on the
 7   Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

 8         Service information continued on attached page

 9   2. SERVED BY UNITED STATES MAIL: On September 1, 2021, I served the following
     persons and/or entities at the last known addresses in this bankruptcy case or adversary proceeding
10   by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
     postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
11   mailing to the judge will be completed no later than 24 hours after the document is filed.

12   Kfir Gavrieli
     1171 Montana Avenue #215
13   Los Angeles CA 90049
14
           Service information continued on attached page
15
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
16   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
     F.R.Civ.P. 5 and/or controlling LBR, on September 1, 2021, I served the following persons and/or
17   entities by personal delivery, overnight mail service, or (for those who consented in writing to such
     service method), by facsimile transmission and/or email as follows. Listing the judge here
18   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
     no later than 24 hours after the document is filed.
19

20   BY OVERNIGHT MAIL:
     Honorable Sheri Bluebond
21   USBC - Central District of California
     255 E. Temple Street
22   Suite 1534 / Courtroom 1539
     Los Angeles, CA 90012
23
           Service information continued on attached page
24
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
25   correct.

26    September 1, 2021      Mohammad Tehrani                           /s/ Mohammad Tehrani
      Date                   Printed Name                               Signature
27

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 1                                       SERVICE LIST
                                           (Via NEF)
 2

 3   William H Brownstein            Brownsteinlaw.bill@gmail.com
     Eryk R Escobar                  eryk.r.escobar@usdoj.gov
 4   Peter Gilhuly                   peter.gilhuly@lw.com
     Jordan A Kroop                  jkroop@perkinscoie.com, rleibowitz@perkinscoie.com
 5   William N Lobel                 wlobel@tocounsel.com, jokeefe@tocounsel.com;
                                     sschuster@tocounsel.com
 6
     Kerri A Lyman                   klyman@steptoe.com, #-FirmPSDocketing@Steptoe.com;
 7                                   nmorneault@Steptoe.com; mhernandez@steptoe.com;
                                     aodonnell@steptoe.com
 8   Edward J McNeilly               edward.mcneilly@hoganlovells.com
     Amy Quartarolo                  amy.quartarolo@lw.com, laura.pumerville@lw.com; amy-
 9                                   quartarolo2972@ecf.pacerpro.com
10   Jeffrey M. Reisner              jreisner@steptoe.com, #-FirmPSDocketing@Steptoe.com;
                                     klyman@steptoe.com; nmorneault@Steptoe.com
11   Daniel S Schecter               daniel.schecter@lw.com
     William Schumacher              wschumac@milbank.com, autodocketecf@milbank.com
12   Najah J Shariff                 najah.shariff@usdoj.gov, USACAC.criminal@usdoj.gov
13   Mark Shinderman                 mshinderman@milbank.com,
                                     dmuhrez@milbank.com;dlbatie@milbank.com
14   Mohammad Tehrani                mtehrani@milbank.com
     United States Trustee (LA)      ustpregion16.la.ecf@usdoj.gov
15   Johnny White                    JWhite@wrslawyers.com, aparisi@wrslawyers.com;
                                     eweiman@wrslawyers.com; chamilton@wrslawyers.com
16
     Richard Lee Wynne               richard.wynne@hoganlovells.com;
17                                   tracy.southwell@hoganlovells.com;
                                     cindy.mitchell@hoganlovells.com; rick-wynne-
18                                   7245@ecf.pacerpro.com
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